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     1                       UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
     2                             MIAMI DIVISION
                             CASE NO. 19-21625-CIV-DPG
     3

     4      GROVE
            GROVE GARDENS RESIDENCES
            CONDOMINIUM ASSOCIATION, INC.,
                                     INC.,
     5
                             Plaintiff,
     6
                 vs.
     7
                                                    Miami, Florida
     8                                              December 18, 2019
            ROCKHILL INSURANCE COMPANY and          Pages 1-19
     9      CERTAIN UNDERWRITERS AT LLOYD'S
            LONDON,
    10
                           Defendants.
    11      _______________________________________________________________

    12                       TRANSCRIPT OF TELEPHONIC HEARING
                        BEFORE THE HONORABLE ALICIA M. OTAZO-REYES
    13                        UNITED STATES MAGISTRATE JUDGE

    14
            APPEARANCES:
    15
            FOR THE PLAINTIFF:
    16                             Siegfried Rivera
                                   BY: SUSAN ODESS, ESQ.
    17                             201 Alhambra Circle
                                   11th Floor
    18                             Coral Gables, Florida 33134

    19      FOR THE DEFENDANTS:
                                   Levy Law Group
    20                             BY: LAUREN D. LEVY, ESQ.
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    22
            TRANSCRIBED BY:        DAWN M. SAVINO, RPR
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     1                             P-R-O-C-E-E-D-I-N-G-S

     2                COURTROOM DEPUTY:     The United States District Court is

     3      now in session, the Honorable Magistrate Judge Alicia M.

     4      Otazo-Reyes presiding.

     5                Calling the case of Grove Gardens Residence Condominium

     6      Association versus Certain Underwriters at Lloyds of London,

     7      case number 19-21625-civil-Judge Gayles.

     8                They're on the line.

     9                THE COURT:     Tell them to enter their appearances.

    10                COURTROOM DEPUTY:     Oh.   Counsel, please enter your

    11      appearances starting with the Plaintiff first.

    12                MS. ODESS:     Good afternoon, Your Honor.     Susan Odess

    13      from Siegfried Rivera on behalf of the Plaintiff, Grove Gardens

    14      Residences Condominium Association, Inc.

    15                MS. LEVY:     Good afternoon, Your Honor.     Lauren Levy on

    16      behalf of both Defendants, Rockhill Insurance Company and

    17      Certain Underwriters at Lloyds of London.

    18                THE COURT:     All right.   It appears to me that the words

    19      I spoke at our last hearing fell on deaf ears.         Instead of

    20      resolving issues, issues are becoming more confrontational, more

    21      convoluted and we don't seem to see the light at the end of the

    22      tunnel with regard to discovery in this case.         I am now being

    23      confronted with one, a request for conference because there

    24      couldn't even be agreement on when counsel were available to

    25      have a discovery hearing in accordance with the procedure that


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     1      is dictated in this case.     I've also received motions for

     2      protective order, even though the protocol here prohibits the

     3      filing of discovery motions, and I have received some kind of

     4      submission with a bunch of cases that I'm supposed to be

     5      reviewing.    I'm not quite sure what the purpose of that is.           But

     6      basically, it doesn't seem to me that case law is the answer to

     7      the problems that Counsel keep creating.       It seems to me that

     8      Counsel are showing an inability to work cooperatively to

     9      advance the discovery that is required in this case.

    10                As things stand right now, the deadline for discovery

    11      is less than two weeks away and there has been no progress.             All

    12      I see is roadblocks, objections.      I see that somebody is

    13      supposed to show up at a deposition at the same time that

    14      somebody else is supposed to show up at a deposition.          I told

    15      Counsel at the end of the last hearing that if this kind of

    16      behavior continued, I would be inclined to refer both counsel to

    17      the Court's Peer Review Committee.       I had hoped that that

    18      warning would make people realize that they cannot continue in

    19      this course of action.     As I said at the beginning, it seems

    20      like that warning fell on deaf ears.       I don't even know where to

    21      begin with all of these new disputes that have been presented to

    22      me, but I will hear first from Ms. Odess who filed the initial

    23      expedited motion for status conference, Docket Entry 87, and you

    24      can tell me what relief you are seeking, Ms. Odess.

    25                MS. ODESS:    Of course, Your Honor.     And first and


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     1      foremost, I just want to say the warning that the Court provided

     2      at the last hearing I take very seriously, and my office, as you

     3      can see from the documents we submitted to the Court, which, you

     4      know, I know that you probably didn't have an opportunity to

     5      review, but, I mean, we have done everything in our power to try

     6      and comply with discovery.     We've done everything to give them

     7      all the dates that they've requested, and we contacted their

     8      office in writing through correspondence, as well as

     9      telephonically to try and do everything to facilitate the

    10      scheduling and confirmation of depositions moving forward.            So I

    11      want to be very clear that there aren't antics on my end.            I've

    12      complied with all depositions that they've asked for.         I've

    13      given numerous dates and I'm the one that's being roadblocked.

    14                 What I'm asking for is relief by way of several things.

    15      The first and the easiest would be the Defendant's corporate

    16      representative.    We've been asking for these depositions for

    17      over seven months.     The deposition of Sherri King, who is the

    18      corporate representative for Rockhill, was previously noticed on

    19      two prior occasions.     Ms. Levy agreed to produce her in Miami,

    20      Florida.   I produced to you the e-mail where she agreed to

    21      produce in Miami, Florida back in the summer.        Then in August, I

    22      believe it was August 12th of 2019, she contacted me and asked

    23      if the deposition that I had scheduled for August, if we can

    24      move it for the date after mediation which was 11-20-2019 and

    25      said that as you know, the deposition of my client is scheduled


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     1      for next week, 8-21 in Miami, per my client's agreement to

     2      appear in Florida.     And she said because we have mediation in

     3      Miami, can we move it to the day after mediation, and as a

     4      professional courtesy, I obliged and I said that that was fine.

     5      She cancelled mediation and she cancelled the deposition because

     6      she had a trial set.     So since that time period, I've been

     7      asking for additional dates, and we were just given, for the

     8      first time about a week ago, the date for Ms. King's deposition

     9      in St. Louis, Missouri, and she had previously consented to

    10      Miami, it's been noticed on two prior occasions for Miami.           St.

    11      Louis is not the principle place of business for the deponent,

    12      I'm sorry, for the insurance company, so there would be no

    13      reason why it would have to take place there.

    14                But more importantly, it would require me to leave my

    15      family on Christmas to have to fly to St. Louis, Missouri to

    16      take a deposition of an individual who, pursuant to the case

    17      law, has already submitted to the jurisdiction of the Southern

    18      District of Florida.     And as they're a counter-Plaintiff in this

    19      case, the case law says that they agree to submit to the

    20      jurisdiction.    So the case law is behind me.      They agreed in

    21      writing to appear in Miami on two separate occasions.         We

    22      provided professional courtesies to them to have them be

    23      rescheduled and then at the last minute, I'm being told it has

    24      to be the day after Christmas in St. Louis, Missouri where

    25      that's not where the case law supports and that's not fair,


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     1      that's not equitable, and so I'm asking that the deposition

     2      proceed in Miami.

     3                  THE COURT:    All right.      Ms. Levy, would you like to

     4      address the issue of Ms. King's deposition?

     5                  MS. LEVY:    Yes, I would, Your Honor and thank you for

     6      giving us the opportunity to air this out.             Unfortunately, it

     7      has come to this point, but I believe what Counsel is saying is

     8      inaccurate.    The only time we agreed to produce the corporate

     9      representative in Miami was because we were having mediation in

    10      Miami and that it made sense since my client was flying in --

    11      and this is the corporate representative of Rockhill, not Lloyds

    12      -- to have it the day after.          And unfortunately, both at

    13      mediation and the deposition fell during the week where I was

    14      called to trial that Your Honor was made aware of at one of the

    15      previous hearings.       We -- and Counsel had previously set not

    16      just the corporate representative of Rockhill in St. Louis, but

    17      also the corporate representative of Lloyd's is another issue,

    18      he's in West Palm Beach and it has been set at least twice

    19      before by Plaintiff in Palm Beach without question.             And now all

    20      of a sudden we get the other day --

    21                  THE COURT:    I'm sorry.      I'm sorry.    Ms. Levy, stick to

    22      Rockhill.

    23                  MS. LEVY:    I'm sorry.      I'm traveling.

    24                  THE COURT:    Stick to Rockhill and Ms. King.

    25                  MS. LEVY:    Okay.   Okay.     Ms. King and Rockhill, she


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     1      resides and lives in southern Illinois which is closest to St.

     2      Louis, Missouri.      She was previously set in St. Louis and at the

     3      time of mediation we said look, she's flying in --

     4                THE COURT:     Ms. Levy, Ms. Levy.

     5                MS. LEVY:     Yes.

     6                THE COURT:     Let me ask you this question.     Is Ms. King

     7      being offered as Rockhill's corporate representative?

     8                MS. LEVY:     Yes, she is, Your Honor.    And we filed a

     9      motion for protective order because we believe the case law --

    10                THE COURT:     What does her residence have to do with her

    11      appearance at a corporate representative if Rockhill has

    12      counter-claimed in this action?

    13                MS. LEVY:     Well Your Honor, our motion for protective

    14      order spells out that this is a compulsory counterclaim in which

    15      if we had not done it, you know, it would have been waived or --

    16      not been waived, I'm sorry.      So the case law that we cited in

    17      our motion for protective order, and forgive me Your Honor, I'm

    18      traveling which is why I could not make any other hearing this

    19      week.   I actually pulled off the side of the road to do this

    20      right now.    I'm driving, and I can pull up the motion, but we

    21      did cite to the cases that the Court -- our position that

    22      because it's a compulsory counter-claim, that neither corporate

    23      representative, stick to Rockhill, subjects themselves to the

    24      jurisdiction of having to appear in Florida for their

    25      deposition.    And a declaratory judgment action counter-claim


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     1      falls within that as well.

     2                THE COURT:    Well, let me ask you this question, Ms.

     3      Levy:   Under what authority did you file this motion for

     4      protective order?

     5                MS. LEVY:    Under Rule 26 and Rule 13, Your Honor.

     6                THE COURT:    Are you aware of what protocol governs this

     7      case where discovery motions are not allowed?

     8                MS. LEVY:    Oh, I'm sorry, okay.     I thought you were

     9      saying the basis of the motion itself.        Yes, I am aware.       I

    10      believe, Your Honor, this was an imminent circumstance.          I

    11      actually gave case law to opposing counsel to please look at it

    12      and hopefully change their mind because this was, I believe, a

    13      tactic since they have since -- prior set these notices for the

    14      deposition in the places of where both corporate representatives

    15      are located.    And then I'm not sure if a light bulb went off or

    16      something, and they decide to now change that when we had

    17      originally given the date for 12-26 in St. Louis.

    18                And yes, Your Honor, I don't know what to say about

    19      filing the motions, but I didn't know how else to address it at

    20      this point.

    21                THE COURT:    Well, the way to address it is the way that

    22      the protocol tells you to address it.       Meet and confer and

    23      request a date.

    24                Now, the motion that Plaintiff filed was because they

    25      attempted to meet and confer and get a date and they did not


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     1      succeed in doing that.     And this is just a prime example of the

     2      issues that we're having in this case where counsel are at each

     3      other's throat, physically not, but obviously figuratively, and

     4      they are like ships pass not guilty the night.        One is speaking

     5      one language, the other one is speaking a different language and

     6      never the twain shall meet.      So again, we have issues that keep

     7      cropping up and keep getting blown out of proportion time and

     8      again.

     9                Now, compounding the pressure that is being felt in

    10      this case is the fact that you all are operating under a

    11      discovery deadline of December 31st right in the middle of the

    12      holidays, and rather than trying to ease the burden on each

    13      other, you're just willy-nilly making each other suffer.          Like

    14      for example, Ms. Odess, who has told us already that she's

    15      expecting a baby and has a small child, would be required to

    16      travel to St. Louis on Christmas day.       And you, Ms. Levy, who

    17      appear to be traveling for some unknown reason are having to

    18      stop at the side of the road to address these matters.         This is

    19      no way to run discovery or to conduct yourselves in federal

    20      court in terms of courtesy to the other side and

    21      professionalism.

    22                I don't know why you all are not seeking an extension

    23      of the discovery deadline.     I've made all my orders conditioned

    24      on that, but it seems to me that this is just not going to end

    25      well, and somebody may end up being distracted on the road and


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      1     having an accident or somebody falling ill because of the

      2     pressure, and that is not worth to anybody.

      3               So the way I see things is you're not making any

      4     progress if you both persist on just pointing the gun at each

      5     other.   And what you just alluded to, the filing of this motion

      6     and the back and forth without discussing things, again is an

      7     example of the deadlock that we're in that doesn't seem to be

      8     able to be resolved.

      9               So I don't know that -- I don't know that anything can

     10     be achieved here other than what I said, that whatever

     11     depositions do not go forward, the recalcitrant party or the

     12     offending party will have to pay the price by the way of

     13     sanctions.    The only other escape hatch or escape valve would be

     14     for discovery to be extended, let the holidays go through and

     15     hope to get things done in a proper fashion.        But I don't hold

     16     much hope for that because I have the feeling that as long as

     17     you both continue in this warpath, you will continue to have

     18     discovery deadlines that cannot be met because the time is being

     19     wasted in fighting about minutia.

     20               So I don't know that I can -- I don't know that I can

     21     force Ms. Odess against her better judgment and her health and

     22     her family concerns to leave her family on Christmas day.          I

     23     don't know that I can make Ms. King, the corporate

     24     representative, travel on a fixed date against her will either.

     25     It seems to me that you all need to find solutions to these


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      1     problems.

      2                 Go ahead.

      3                 MS. ODESS:   Your Honor, if I may?

      4                 THE COURT:   Yes, ma'am.

      5                 MS. ODESS:   Two things.   Ms. Levy said that she had

      6     only agreed to one date in Miami.       I actually sent you the two

      7     notices that you can see.      They have both the times that it was

      8     agreed to in the summer.      It was agreed that she would appear --

      9     Ms. King would appear in Miami, Number 1.

     10                 Number 2, I have done everything in my power to try and

     11     get this Court to understand this is not my office.         We call

     12     them, we write to them, we don't get a response.         This is not a

     13     both party situation, and I'm trying to do my best to echo this

     14     because we don't get responsive calls.       Three discovery hearings

     15     ago my associate informed you that we wanted a date to have them

     16     give us all depositions because all we do is chase after their

     17     office.     I wrote to Ms. Levy and I brought this up at the last

     18     hearing.     I wrote to Ms. Levy and I said I'm soon approaching

     19     the time period where I can no longer travel on an airplane.

     20     I've requested these depositions four months prior to any of the

     21     requested depositions that she has sought in this case.          I've

     22     only take one deposition thus far which was last week.          Out of

     23     the eight months that I've been requesting depositions, I said

     24     give me the dates for the people I'm requesting for the month of

     25     December, and then January when I can no longer travel, my


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      1     people are local, I can effectuate those depositions very

      2     easily.   So let's extend discovery cut-off two months and we can

      3     then have all the depositions be completed, but let my

      4     depositions go first.     I requested them first and also because I

      5     won't be able to travel, and she wouldn't agree to that.          So

      6     extending discovery at this point does nothing for me because

      7     I'm not going to be able to get on a plane in three weeks.

      8               So with regard to Sherri King, the motion for

      9     protective order, that was filed today and she conferred with my

     10     office today at noon and had -- we had given those cases

     11     previously.    I had to pull all this research, I'm home with

     12     pneumonia.    I pulled all of this research that combats the cases

     13     that she says, you know, in her filing.

     14               That's not true that her corporate representative does

     15     not get the protection of the fact that just because she's the

     16     corporate representative of where she lives.        She doesn't live

     17     in St. Louis, Missouri, it's not the principle place of business

     18     of the insurance company.      The principle place of business is in

     19     Arizona, and she's already agreed to Miami on two separate

     20     occasions.

     21               So, I mean, this is -- I couldn't be obstructed any

     22     further in this case as simply as it relates to the corporate

     23     representative Sherri King.      And I have a paper trail to support

     24     that she agreed to produce her in Miami on two prior occasions.

     25               THE COURT:    All right.


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      1               MS. ODESS:     And I gave her the professional courtesy.

      2               THE COURT:     I am hearing from Ms. Odess that Ms. Levy

      3     refuses to join in a motion for extension of the discovery.          Did

      4     I hear that correctly?

      5               MS. ODESS:     About three weeks ago I sent her a letter

      6     saying I would like to extend discovery cut-off two months and I

      7     could have my depositions take place in December, we could have

      8     yours take place, you know, up until the beginning of February,

      9     and she wouldn't agree.      So I don't know what I'm supposed to

     10     do.   I can only ask the Court for relief and unfortunately, what

     11     it looks like is you have two people playing in the sandbox but

     12     that's not the case.      And I have a paper trail, I have a chart

     13     of all the calls where they go unanswered.          My office even has

     14     to call from unmarked numbers because they screen our calls.

     15               I mean, you know, I take the threats of the Court very

     16     seriously when you say, you know, you're referring this to a

     17     peer committee, and I really want to stress that this is a

     18     one-sided issue, and I have all the documentation that I'm happy

     19     to provide the Court, all the e-mails, the written

     20     correspondence and the charts.        I get no relief.

     21               THE COURT:     All right.    All right.    I will come through

     22     on my prior warning.      I will refer this matter to the peer

     23     review committee.      Let them make the appropriate determinations

     24     on who's right and who's wrong.        And I will encourage Ms. Levy

     25     to agree on a motion for extension of the discovery deadline and


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      1     I will consult with Judge Gayles regarding how to proceed in

      2     this case since the schedule is not within my power.         But

      3     basically, I don't see a way out of this as long as counsel

      4     continue to exhibit the behavior that I have observed in the

      5     past and that I continue to observe.         Mark my words, whoever is

      6     --

      7               MS. LEVY:     Your Honor, may I?

      8               THE COURT:     Let me finish.

      9               MS. LEVY:     I'm sorry, Your Honor.

     10               THE COURT:     Whoever is acting inappropriately will be

     11     treated accordingly.      Again, I cannot stress enough that

     12     discovery is not a fight to the death, discovery is cooperative.

     13     But this -- if you print the transcript of this hearing, you

     14     will see that counsel are talking at cross purposes to each

     15     other.

     16               So at this point in time, what I will do is consult

     17     with Judge Gayles, refer counsel to the Peer Review Committee

     18     and if you all see fit to file a joint motion for extension of

     19     discovery, do so.      If one side feels that they need to do so

     20     without the consent of the other party, do so.         I cannot tell

     21     you how to run your business, but the place where we're at right

     22     now with what people are presenting to me, we're at a total and

     23     absolute deadlock.

     24               Anything else I can do for you at this time?

     25               MS. LEVY:     Your Honor, if I can please, it's Ms. Levy.


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      1     I would just like an opportunity to respond on the record to all

      2     that Ms. Odess has expressed to the Court.

      3                This is not one-sided.     This is actually more than

      4     that.   Ms. Odess took the deposition last week on Thursday of

      5     one of my client's representatives for six hours in a room with

      6     her coughing and being very sick even though I said look, if you

      7     really want to reset it, you can.       Long and short, she showed up

      8     at the hearing in front of Your Honor and I said if you're this

      9     sick, why didn't you reset it.      I'm not, you know, adversarial

     10     as being portrayed.

     11                I would just like to put on the record that her client

     12     -- I was not getting dates from the Plaintiff.         And as far as I

     13     know, Christmas Eve day, which is December 24th, is not a

     14     holiday.   I could start as early in the morning to get them out

     15     as late -- as early as I possibly can.       And moving forward, you

     16     know, the law is the law and the case law is the case law, and I

     17     just don't want the Court and/or counsel -- I mean, I feel that

     18     this did take a wrong turn and I apologize to the Court for

     19     that.   You know, I think both of us should -- and I think that

     20     it's unfortunate, but we had to set some depositions and per the

     21     Court's last ruling that everything will be done by December

     22     31st, and unfortunately the dates that were being proposed, I

     23     had been out of town on business in another case, and I am in

     24     the car right now driving back.      And I -- you know, that's why I

     25     could not meet in person to any status conference the last two


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      1     days.     And I want the Court to be aware of that that if I could,

      2     I would.

      3                 And to also make clear that Siegfried Rivera has 69 or

      4     70 lawyers, and they have coverage.       And as you can see from the

      5     hearings and as I have seen in other cases including trying a

      6     case, a partner came in to try the case for Ms. Odess, and I've

      7     had other lawyers appear at depositions as well as in front of

      8     Your Honor on other hearings, so I'm a small-time shop.          I don't

      9     have that kind of manpower, and I tried my best.         And my client,

     10     Sherri King, just so the Court is aware, was making herself

     11     available on December 26th leaving her -- and she was on

     12     vacation.     She was going to be driving back from Ohio on

     13     Christmas night, the night of Christmas Day, to be there for her

     14     deposition on December 26th, so not to be in Miami as we had

     15     already previously made counsel aware.

     16                 So right now, unfortunately, we are at a stand still

     17     and, you know, I feel bad that it has gotten to this point due

     18     to -- it's not one-sided, Your Honor.       I hope the Court is aware

     19     of that.     And I guess we'll take it from there based on your

     20     ruling.

     21                 MS. ODESS:   Judge, may I please just say something very

     22     quickly?

     23                 THE COURT:   Yes, ma'am.

     24                 MS. ODESS:   This is a prime example of where statements

     25     are made that are not supported by fact.        Ms. Levy said that she


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      1     didn't get dates for my client's corporate representative which

      2     is why she had to unilaterally notice it on Christmas Eve.

      3     Beginning on September 10th we gave her November 5th; on

      4     November 19th, we gave her November 18th; on 12-11, we gave them

      5     12-16 and 12-18 and today we gave them 12-20.        Not a single

      6     response to any of those four e-mails did we receive.         We were

      7     never told they weren't available, they just ignore our e-mails

      8     when we give them deposition dates.

      9               Then Ms. Levy just told you that last week I was very

     10     sick.   I had viral pneumonia, that is correct.        Last week I

     11     showed up at a hearing, I was super sick.        I'm at a firm that

     12     has multiple disciplines of practice.       There's only one other

     13     attorney that is assigned to the file which is my associate.            I

     14     cannot just go pick people from my firm to cover things.

     15     Before, yes, last week the deposition on Thursday, I asked Ms.

     16     Levy to postpone the deposition one hour so I could get blood

     17     work done at the doctor and she was not willing to give me that

     18     professional courtesy.     I have that in writing.      So for her to

     19     tell you right now that she told me that I could postpone the

     20     deposition, that conversation not only didn't take place, but

     21     she wasn't willing to postpone it one hour.        I mean, I had to

     22     get an emergency motion for a protective order for the

     23     deposition taking place on Friday because I have pneumonia, my

     24     daughter has pneumonia and my -- I'm sorry, and the deponent

     25     that was getting deposed last week was hospitalized for


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      1     bronchitis and she still wasn't willing to cancel the

      2     deposition. You granted the protective order and then I gave her

      3     dates for four days for the depositions to take place this week

      4     and she -- we called her office, we gave her deadlines, she

      5     didn't respond, and she's still nonresponsive.         And I told her

      6     today that if I didn't have a response by 11 a.m. today, we will

      7     assume that she's no longer interested in deposing the people,

      8     and 11 a.m. came and went.

      9               I don't know what further I can do, but I'm up against

     10     the wall and it's -- the obstruction is absurd.

     11               THE COURT:    All right.    As I said, I tried to give you

     12     both fair warning to try to resolve things.        I will -- because

     13     it appears to have fallen on deaf ears in the sense of there is

     14     no progress in breaking the deadlock, I will carry through on my

     15     prior promise to refer the conduct of discovery in this case to

     16     the Peer Review Committee.      You can each make your case to them

     17     and I will consult with Judge Gayles regarding how to proceed in

     18     this case, because discovery is not going forward and the

     19     consequences of that are obviously to the detriment of your

     20     clients, not to yourselves personally.       It's not your money,

     21     it's not your pocket that is being affected by this conduct.

     22               I deplore that young lawyers should find themselves in

     23     this situation.    It is not something that I enjoy referring two

     24     young women lawyers to Peer Review Committee, but I find no

     25     alternative to do that despite my prior fair warnings.


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      1               I will consult with Judge Gayles regarding what to do

      2     in this case next.     You are free to seek an extension of

      3     discovery if that's what you all wish to do.        I'm not going to

      4     hold you to do that or not do that, that's your choice.          But

      5     this case is off the rails and the only people who can put them

      6     -- put the case back on the rail is the two of you.

      7               I wish you happy holidays.

      8               MS. LEVY:    Thank you.

      9               (PROCEEDINGS CONCLUDED)

     10                                     * * * * *

     11                           C E R T I F I C A T E
            I certify that the foregoing is a correct transcript from the
     12     digital audio recording of proceedings in the above-entitled
            matter.
     13

     14     01/03/2020                _/s/ Dawn M. Savino
            Date                      DAWN M. SAVINO, RPR
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